       Case 1:20-cv-03590-JEB          Document 461        Filed 03/23/25     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

        Plaintiff,                                        Case No. 1:20-cv-3590-JEB

 v.                                                       HON. JAMES E. BOASBERG

 META PLATFORMS, INC.,

        Defendant.



      THE NEW YORK TIMES COMPANY’S MOTION TO INTERVENE AND FOR
             ACCESS TO JUDICIAL RECORDS AND PROCEEDINGS

       The New York Times Company (“The Times”), by and through its undersigned counsel,

hereby moves to intervene and for access to the proceedings of and exhibits from the upcoming

trial in this case. In support of this motion, The Times relies on the accompanying memorandum

of points and authorities. A proposed order is also attached.

       Pursuant to Local Rule 7(m), undersigned counsel for The Times certifies that The Times

contacted Plaintiff and Defendant to determine whether they oppose the relief sought in this

motion. The Times also met and conferred with the parties on the morning of March 23, 2025.

Plaintiff later responded with the following statement:

       The FTC supports public access to judicial proceedings. At the same time, it is our
       position that party and third-party information that truly meets the sealing standard must
       be protected from inappropriate disclosure. As such, the FTC would agree to
       arrangements for providing public access to unsealed information used during the course
       of trial. That said, an order requiring the parties to publicly post material in an
       unnecessarily hasty fashion creates the potential for disputes or errors. As we
       communicated on the call, the FTC’s position is that proposed intervenors should meet
       and confer with the parties to discuss the practicalities and timing of posting exhibits
       publicly. If given more time, the FTC will be better able to provide a more concrete
       position on what may be practicable. If all parties concerned can reach an accord, it
       could obviate the need for intervention and avoid unnecessarily burdening the Court.
       Case 1:20-cv-03590-JEB          Document 461        Filed 03/23/25      Page 2 of 2




       Further, we believe that it is unnecessary and impractical for the parties to provide
       advance notice of the likelihood that a party will request sealing the courtroom. The
       Court has indicated that it will take a strict view of confidentiality assertions, wishes to
       avoid closing the courtroom to the public unless it is absolutely necessary, and will close
       the courtroom only for short periods of time.

Meta later responded with the following statement:

       Meta, too, believes in the importance of public access to judicial records and is
       committed to ensuring that only commercially sensitive and personally private
       information is kept confidential. Meta’s position, however, is that the Times’s motion is
       premature. Meta first heard from the Times on Saturday at 5:37pm EST, and during a
       telephone call on Sunday morning told the Times that the parties have not had enough
       time to productively meet and confer about the Times’s proposal, the details of which
       were still evolving. Meta asked that the Times meet and confer on its proposal before
       filing a motion.



      Dated: March 23, 2025                Respectfully submitted,

                                           /s/ Dana Green
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